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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    AMYRIS, INC., et al.,1                                    Case No. 23-11131 (TMH)

                              Debtors.                        (Jointly Administered)

                                                              Hearing Date: October 18, 2023 at 2:00 p.m. (ET)
                                                              Obj. Deadline: October 4, 2023 at 4:00 p.m. (ET)

  NOTICE OF APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR ENTRY OF AN ORDER (I) AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF JEFFERIES LLC AS INVESTMENT BANKER PURSUANT TO
     11 U.S.C. §§ 328(a) AND 1103(a), EFFECTIVE AS OF SEPTEMBER 1. 2023
        AND (II) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS

             PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”) appointed in the chapter 11 cases of the above-captioned debtors and debtors in

possession (the “Debtors”), filed the Application of the Official Committee of Unsecured Creditors

for Entry of an Order (I) Authorizing the Retention and Employment of Jefferies LLC as Investment

Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1, 2023 and (II)

Waiving Certain Time-Keeping Requirements (the “Application”) with the United States

Bankruptcy Court for the District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that objections to the Application, if any, must be

in writing, filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,

3rd Floor, 824 North Market Street, Wilmington, Delaware 19801, on or before October 4, 2023 at

4:00 p.m. (ET) (the “Objection Deadline”) and served upon and received by the undersigned



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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
      of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
      CA 94608.


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proposed attorneys for the Committee.

        PLEASE TAKE FURTHER NOTICE that, if any objections to the Application are

received, the Application and such objections shall be considered at a hearing before the Honorable

Thomas M. Horan at the Bankruptcy Court, 824 Market Street, 5th Floor, Courtroom No. 5,

Wilmington, Delaware 19801 on October 18, 2023 at 2:00 p.m. (ET).

        IF NO OBJECTIONS TO THE APPLICATION ARE TIMELY FILED, SERVED

AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY

COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT

FURTHER NOTICE OR HEARING.




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Dated: September 20, 2023             Respectfully submitted,
       Wilmington, Delaware
                                      /s/ Sameen Rizvi
                                      Christopher M. Samis (No. 4909)
                                      Katelin A. Morales (No. 6683)
                                      Sameen Rizvi (No. 6902)
                                      POTTER ANDERSON & CORROON LLP
                                      1313 N. Market Street, 6th Floor
                                      Wilmington, Delaware 19801
                                      Telephone: (302) 984-6000
                                      Facsimile: (302) 658-1192
                                      Email: csamis@potteranderson.com
                                               kmorales@potteranderson.com
                                               srizvi@potteranderson.com
                                      -and-

                                      Gregory F. Pesce, Esq.
                                      Andrew F. O’Neill, Esq.
                                      WHITE & CASE LLP
                                      111 South Wacker Drive, Suite 5100
                                      Chicago, Illinois 60606
                                      Telephone: (312) 881-5400
                                      Facsimile: (312) 881-5450
                                      Email: gpesce@whitecase.com
                                               aoneill@whitecase.com

                                      -and-

                                      John Ramirez, Esq.
                                      Andrea Kropp, Esq.
                                      WHITE & CASE LLP
                                      1221 Avenue of the Americas
                                      New York, New York 10020
                                      Telephone: (212) 819-8200
                                      Facsimile: (212) 354-8113
                                      Email: john.ramirez@whitecase.com
                                               andrea.kropp@whitecase.com
                                      Proposed Counsel for the Official Committee of
                                      Unsecured Creditors




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